 Case 1:20-cv-00036-HYJ ECF No. 244, PageID.5701 Filed 12/05/22 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 CHARLES JONES,

        Plaintiff,
                                                                    Case No. 1:20-cv-36
 v.
                                                                    HON. HALA Y. JARBOU
 CORIZON HEALTH INC., et al.,

        Defendants.

____________________________/

                                             JUDGMENT

       Plaintiff Charles Jones sued Corizon Health Inc., Teri Byrne, R.N., Janice Steimel, L.P.N.,

Joanne Sherwood, N.P., Melissa Furnace, R.N., Dan Card, L.P.N., Chad Richard Goetterman,

R.N., James August Mollo, L.P.N., Lynne Fielstra, L.P.N., alleging Deliberate Indifference and

Professional Negligence in the death of his son, Wade Jones. The jury found in favor of Plaintiff,

and against Defendants Mollo, Furnace, and Goetterman, on the Deliberate Indifference claim and

awarded Plaintiff a total of $6.4 million dollars in compensatory damages. The jury found in favor

of Defendants on Plaintiff’s claim of Professional Negligence.

       Consistent with the Jury’s findings and verdict, the Court ENTERS JUDGMENT against

Defendants Mollo, Furnace, and Goetterman, who are liable to Plaintiff Charles Jones, as Personal

Representative of the Estate of Wade Jones, for $6.4 million in compensatory damages for

Plaintiff’s Deliberate Indifference claim.

       Consistent with the jury’s findings of no cause and verdict, the Court DISMISSES WITH

PREJUDICE Plaintiff’s Professional Negligence claim.
 Case 1:20-cv-00036-HYJ ECF No. 244, PageID.5702 Filed 12/05/22 Page 2 of 2




With this Judgment, all claims have been resolved.




        December 5, 2022
Date: __________________________                    /s/ Hala Y. Jarbou
                                                 ____________________________________
                                                 HALA Y. JARBOU
                                                 CHIEF UNITED STATES DISTRICT JUDGE




                                         Page 2 of 2
